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August 5, 2024

The Hon. Alan S. Trust
Chief Judge
United States Bankruptcy Court
Eastern District of New York
Alphonse M. D’Amato U.S. Courthouse
290 Federal Plaza
Central Islip, NY 11722

Re: Case No. 8-20-08049 (AST)

Your Honor,

We represent Arvind Walia and Niknim Management, Inc. in the above noted Adversary Proceeding
which was tried before the Court on July 24, 2024.

At closing argument Your Honor requested that the Defendants explain what occurred to some one
million three-hundred dollars ($1.3 million) dollars which were disbursed as funds based on the sale of
Porteck Corporation to Physicians Practice Plus, LLC.

After consultation with Mr. Walia, the answer to Your Honor’s inquiry appears to be found in Plaintiff’s
Exhibits 1 (the Asset Purchase Agreement) and 5 (Post Closing payment calculation contained in an
email from Mr. Walia to Mr. Parmar and others).

Exhibit 5 shows a deduction from the purchase price of five hundred thousand dollars ($500,000.00) to
pay down an advance (loan), alleged to be by CHT to Porteck. Six hundred thousand dollars
($600,000.00) was deducted to enable the payment of a loan assumed by CHT. Two hundred thousand
dollars ($200,000.00) was deducted for Abstract fees.

Together the listed deductions on Exhibit 5 contain a record explanation of the “missing” amounts, the
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details of which Defendant Walia was unable to recall during his cross-examination and questioning by
Your Honor.

Respectfully,
Eugene R. Scheiman                                                      Sanford P. Rosen
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